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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOIISIANA


MARIORIE E. KINGSBERY
         Plaintiff                                             CNIL ACTION:
versus

DAVID PADDISON,
ATTORNEY-AT-LAW LLC                                            JUDGE

and                                                            MAGISTRATE
DAVID R. PADDISON, INDIVIDUALLY
                 Defendants


                                         COMPLAINT
NOW COMES Plaintiff Marjorie E. Kingsbery @laintiff, or Kingsbery) who bring this action

pursuant to the Fair Labor Standards Act and the Louisiana Wage Statute. For her Complaint

she avers as follows:


                                        I.INTRODUCTION

    1. Plaintiff bring this action under the Fair Labor   Standards Act ("FLSA"), 29 U.S.C. $S

         201, et seq. and under the Louisiana Wage Statute, La. R. S. 23:631 to recover unpaid

         wages, unpaid minimum wages, unpaid overtime wages and statutorily authorized

         liquidated and penalty damages as well as reasonable attorney's fees and costs associated

         with this litigation.

   2.    Defendants' record-keeping and compensation practices created    willful failures   and

         refusals to pay proper minimum wage and overtime compensation to Plaintiff for all her

         hours worked, and in some cases failed to pay any wages for hours worked at all, all in

         violation of the FLSA.

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3.   In violation of the Louisiana Wage statute, Defendant terminated Plaintiffand failed to

     pay timely all compensation owed to Plaintiff at the time of his termination, including but

     not limited to unpaid minimum wages and unpaid overtime wages for off-the-clock hours

     Plaintiff suffered or was permitted to work.


                                           II. PARTIES

4.   PlaintiffMarjorie E. Kingsbery, is an adult citizen of the United States and resident of

     Louisiana. At all time relevant she was a qualified paralegal who had worked for

     Defendant well and faithfully for nine years. Her regular duties included, in addition to

     his interstate law practice, managing real estate properties in Louisiana and Idaho. She

     engaged in interstate telecommunications and correspondence on a regular basis. She

     conducted interstate credit card transactions, issued interstate subpoenas and regularly

     conducted business with interstate clients.    .



5.   Defendant David Paddison, Attomey-at-Law LLC is a limited liability company

     registered in the State of Louisiana consisting of one individual, David L. Paddison who

     is manager, member and agent.

6.   Defendant David R. Paddison is a natural person of the full age of majority and a resident

     of St. Tammany Parish, State of Louisiana. At all times pertinent, David R. Paddison,

     solely and individually, engaged in the illegal conduct complained of herein.

7.   Defendant David Paddison, Attomey-at-Law LLC and Defendant David R. Paddison are,

     in fact, alter egos of the other and operated at all times relevant hereto as a single

     economic unit under the jurisprudential economic realities test. For pleading purposes

     and unless otherwise specified they   will collectively   be referred to as "Defendant".




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                                III.   JT]RISDICTION AND YEI\UE


8.       This Court has subject matterjurisdiction pursuant to 28 U.S.C. $ 1331 because the

         action is brought under the Fair Labor Standards Act.

9.       This Court has personal jurisdiction over Defendant David Paddison, Attorney-at-

         Law LLC because       it conducts business      and employs individuals in the judicial district.

10.      This Court has personal jurisdiction over Defendant David R. Paddison because                he

         resides within the judicial district and his illegal conduct occurred in this judicial district.

I   l.   Venue is proper in this Court pursuant to 28 U.S.C. $      l39l(b);   business records are kept

         and all or a substantial part of the events giving rise to the claims occurred within this

         judicial district, including but not limited to the unlawful employment and compensation

         practices described herein.


                                       IV. STATEMENT         OF FACTS


12. During the period November 2017 through the date of her termination               Plaintiff was an

         hourly employee of Defendant who regularly worked an average of seven overtime hours

         per week for Defendant, attending to both his legal and general business affairs.

13.      At the outset ofthe COVID outbreak in the United States, on or about March 16,2020,

         Plaintiff asked Defendant if she (Plaintiff) was overacting about not wanting people

         and/or clients in the office. He responded by saying, "Neither do I; we have no

         protocol."

14. On or about March 22,2020,           Plaintiff stated to Defendant that she wanted to begin

         working from home and asked his thoughts on this. He responded saying, he "wanted to

         meet with Yvonne and me on Tuesday or Wednesday. We need to be cautious and

         discuss what we can   do". Plaintiff   responded that she will be there in the morning to get
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   her work,   will   discuss things with him at that time, and that she could talk on the phone

   with Yvonne but stated that she didn't think they should actually meet (in person).

   Defendant then responded, "Are you and Roy OK?'

15. On or about March 22,2020, the Governor issued the "Stay at Home" order.

16. On March 23,2020,       Plaintiff went to the office to gather her work to be able to work

   from home. While there, the Defendant called and his first words were, "You need to file

   for unemployment". When the Defendant came into the office, Plaintiff went into his

   office to speak with him and told him she was terrified of the virus and really wanted to

   work from her home. He appeared to dislike the idea but did not tell her his reasoning.

   Plaintiffalso told him that she was not going to do anything if she was not going to be

   paid since he had mentioned filing for unemployment. His cell phone rang and he

   announced that he had to leave but would be right back. In past times, when he left, he

   would be away for over 2 to 3 hours or more. Plaintiffthen left with her work assuming

   they could speak over the telephone. (Defendant was running in and out of the office and

   allowing clients, deliveries, etc. to resume at the office.) About 12:15, he texted her

   asking her to phone him and stating that he did not know she was leaving. She replied

   that she did not know he was not going to pay her. He said,       "I never said that".   She

   replied that he had told her to file for unemployment and that she could not get both at

   which time he responded," It just seems that you want to quit. Everyone is freaked out,

   but if you just leave and don't communicate, what am I supposed to assume?" Plaintiff

   then responded she did not understand his text     -   that she had told him the previous day

   that she wants to work from home as all of the staff should and that she did not want to




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    meet (in person) with anyone at the office. She stated, "In my mind, your telling me to

    file for unemployment means you do not intend to pay me", etc.

17. On or about, March 30,2020, Defendant texted Plaintiff to                find out whether she was

   coming back and to discuss the future. Plaintiff responded, "Yes" and that she would

   phone him in the afternoon.

18. On or about March 31,2020,         Plaintiff attempted to work from her home but discovered

   that the Defendant had locked her out       ofall         Resource Bank accounts. She then sent him

   a text that she was unable    to start on billing because she needed to reconcile the escrow

   and operating accounts. He responded for her to please do the billing and he                will pay her

   the normal salary for the week.

19. On or about,   April   1, 2020, Defendant advised that he was disappointed that she              did not

   do the billing and stated that it seemed as          if   she and Kathy had   quit. It was very   sad, and

   that he wished she would not quit. Plaintiff responded with, o'What are you talking

   about? I spoke with you yesterday?"

20. On or about April 3, 2020,Plaintiff completed the billing and sent the billing statements

   to the clients. Plaintiff worked about      l0   hours on this task then texted the Defendant that

   she had   billed out$32,776.00.

21. On or about April 5, 2l20,Plaintiff processed her check for the entire week as had been

   discussed and left the check on Paddison's chair (for signing).

22. On or about    April 6, 2020,Defendant texted multiple times asking Plaintiffasking if               she


   was going to work (in office), that he needed assistance in getting something out.

   Plaintiffdid not   see this text   until later that evening due to having taken a muscle relaxer

   and...." being knocked out and in bed all day with              a   pulled muscle". Plaintiff apologized



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   for being unavailable. Defendant advised he needed a Bill-of-Sale for a car and he would

   call her the following day and she could help him at that time.

23. On or about   April 7, 2020, Defendant texted Plaintiff to call the office. Plaintiff asked

   about her check and      if   she needed to pick    it up. There was no response, and another text

   was sent to the Defendant.

24. On or about, April 8, Z020,Plaintiff texted again stating she really needed her check. (It

   had been several days since she left it for signature.) He responded that he would call her

   soon. Plaintiffthen sent an e-mail to the Defendant after he had sent an ugly text

   message to Kathy and had not paid them.

25. On or about April 9, 2020,Plaintiff received an e-mail which stated,          " I will certainly   pay

   you for your time, just give me your hours and please send the hours worked as I cannot

   pay you and hire others to do your job and          fill in". Plaintiffresponded   to his message

   after which he replied telling her not to come to the office.

26. On or about   April   10,    2020,Plaintiff sent an e-mail outlining the situation of events that

   have transpired since March 22,2020.

27. On or about   April   12, 2020,Defendant falsely responded that Plaintiffhad refused to

   communicate for 2 weeks and that he was treating the Plaintiffas a furloughed

   employee.

28. On or about   April   13, 2020, Defendant emailed       Plaintiff that he needed to fill out the

   "layoff'forms    and asked       if Plaintiff was owed anything.

29. On or about   April   14, 2020,Plaintiff texted that he owed her for 10 hours for which she

   had not received payment. She also advised that her husband Roy was going to return all

   files that were in her possession to the offrce. He replied that everything should be left at



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      the door with a list of what she had done for the 10 hours and what she had taken (from

      the   office). Plaintiff replied that the 10 hours was for the March billing.

30. On or about July 9, 2020,Plaintiff emailed again requesting the payment for the               l0    hours

      plus 2 vacation days. There was no response.

31. On or about July 30,      202l,Plaintiff   sent a certified mail request for her final paycheck

      and payment for her accumulated overtime. This certified mail number 7020 0090 0001

      8667 1908 was delivered to his office and signed for on August 5,2020.

32. On or about August 12,2020, a certified mail item from the Defendant was left in

      Plaintiff 's mailbox (with the green card detached     -   no one signed for   it).   The

      correspondence advised that he disputed the entirety of(her) letter and there is an

      ongoing investigation regarding any records missing from the office.


       V. COTINT ONE: VIOLATION                 OF THE FAIR LABOR STAIIDARDS ACT


33. Defendant has gross annual sales equal to or greater than $500,000, using the economic

      realities tests established by jurisprudence.

34. Plaintiff, as an employee of Defendant, engaged in interstate commerce including but not

      limited to selling, producing, or otherwise working on goods or materials that came from

      a state other than Louisiana.

35.   At all relevant times, Plaintiff was compensated at an hourly      rate.

36. Plaintiff regularly worked time in excess 40 hours in a workweek for which she was not

      compensated.

37. Defendant did not compensate Plaintiff at a rate of one and one-half times              Plaintiff

      regular rate of pay for all hours Plaintiff worked more than 40 hours in a workweek and




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    did not compensate Plaintiffat all for hours worked in April, 2020, failing to pay her

    even the federally mandated minimum wage for that time period.

38. Defendant knew that Plaintiff worked hours for which Plaintiff was not compensated

    properly.

39. Defendant either knew their conduct was illegal or showed reckless disregard as to

    whether his conduct violated the law.

40. Defendant's actions constitute knowing, intentional and    willful violations of the FLSA.

41. Plaintiff was damaged as a direct and proximate result of Defendant's actions, policies

    and practices and failure to compensate her properly.


    VI. COUNT TWO: VIOLATION                OF THE LOUISIANA WAGE STATUTE


42. At the time of her termination, Plaintiff was owed gross wages of $ 9,888.00.

43. On August 5,2020, Plaintiff made demand on Defendant by certified mail addressed to

    where she worked and regularly got paid, for her unpaid wages and benefits along with

    penalty wages and attomey's fees.

44.To date, Defendant has failed and refused to make any such payment.

45. Pursuant to La. R. S.23:631 et seq. Defendant was obligated to pay all outstanding wages

    no later than fifteen (15) days of Plaintiff s termination or the next regular pay period

    which was Friday, August 20,2020.

46. As a result of his failure to pay outstanding wages or at least tender an undisputed portion

   within fifteen days of Plaintiff   s termination, Defendant is obligated to pay   Plaintiff

   penalty wages of one day's pay for every day her pay is delayed up to a maximum          of

   ninety (90) days, whichever is less.

47. Plaintiff s daily rate of pay is $243.60 per day.


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48.   At the time of suit, penalty wages in the amount of $ 21,924.00 had accrued for failure to

      timely tender wages and remain unpaid against Defendant representing the maximum of

      90 days of penalty wages due.


                                    VII. PRAYER FOR RELIEF

CONSIDERING THE FOREGOING, PLAINTIFF MARJORIE E. KINGSBERY PRAYS,
WITH RESPECT TO HER FLSA CLAIM, THAT THE COURT:

      a.   Enter judgment declaring that Defendant's policies and practices complained      of

           herein violate the FLSA;

      b.   Enjoin Defendant and his agents from engaging in the policies and practices

           complained of herein;

      c.   Enter judgment against Defendant and award to Plaintiff damages for unpaid wages,

           unpaid minimum wages, unpaid overtime wages, liquidated damages, punitive

           damages, pre-judgment interest and post-judgment interest, all in amounts to be

           determined at trial;

      d.   Enter judgment requiring Defendant to pay to Plaintiff costs and expenses of bringing

           this action, including but not limited to reasonable attorney's fees, expert's fees and

           costs.


AND WITH RESPECT TO HER LOUISIANA WAGE ACT CLAIM PLATNTIFF PRAYS
THAT THE COURT:

      e.   Receive this pleading with preference and priority as a Summary Proceeding, adopting

           La. R. 5.23:631 B and Louisiana Code of Civil Procedure Article 2592, according to

           its remedial purpose, and promptly order Defendants David Paddison, Attorney-At-

           Law LLC and David R. Paddison, Individually to show cause before the Court, in an



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            evidentiary hearing, why Plaintiff s Petition should not be granted as prayed for as set

            out in the suggested Order attached hereto, and

       f.   After due proceedings had, award her outstanding and penalty wages in the combined

            sum   of   $31,812.00 award her legal interest from date of judicial demand at the

            Louisianajudicial interest rate, reasonable attomey's fees taxed as costs pursuant to La.

            R.S. 23:632 and grant unto her all general and equitable relief.


                                       Respectfu   lly submitted,

                                      /s Dale E. Williams
                                      Dale E. Williams, Bar #18709
                                       2l2ParkPlace
                                      Covington, Louisiana 7 0433
                                      Telephone: (985) 898-6368
                                      Facsimile: (985) 892-2640
                                      dale@daleslaw.com


                                        VERIFICATION

       Pursuant to 28 U.S.C. $ 1746, I veriff under penalty of perjury that I have read the
foregoing Complaint, and the allegations contained in it are true and correct to the best of
my knowledge and belief.

      Executed in Covington, Louisiana on this November 23,2020.




                                                   E. KINGSBERY


To Serve


David R. Paddison, Esq. and David Paddison Attorney-at-Law LLC
600 Covington Center

Covington, LA70433




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